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 1                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
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       - - - - - - - - - - - - - - - x
 3     SHONICE G. GARNETT, et al.,
                                               CA No:   1:17-cv-01757-CRC
 4                     Plaintiffs,
                                              Washington, D.C.
 5                                            Monday, March 19, 2018
       vs.                                    10:06 a.m.
 6
       LAURA ZEILINGER,
 7
                     Defendant.
 8     - - - - - - - - - - - - - - - x

 9     ____________________________________________________________

10                     TRANSCRIPT OF MOTION HEARING
              HELD BEFORE THE HONORABLE CHRISTOPHER R. COOPER
11                     UNITED STATES DISTRICT JUDGE
       ____________________________________________________________
12     APPEARANCES:

13     For the Plaintiffs:           MARC COHAN, ESQ.
                                     NATIONAL CENTER FOR LAW AND
14                                   ECONOMIC JUSTICE
                                     275 Seventh Avenue, Suite 1506
15                                   New York, NY 10001-6860
                                     (212) 633-6967
16
                                     LANCE MURASHIGE, ESQ.
17                                   KAITLIN WELBORN, ESQ.
                                     HOGAN LOVELLS US LLP
18                                   555 Thirteenth Street, NW
                                     Washington, DC 20004
19                                   (202) 637-5457

20                                   JENNIFER MEZEY, ESQ.
                                     CHINH Q. LE, ESQ.
21                                   LEGAL AID SOCIETY OF D.C.
                                     1331 H Street, NW, Suite 350
22                                   Washington, DC 20005
                                     (202) 661-5947
23
       (CONTINUED ON NEXT PAGE)
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       Proceedings recorded by mechanical stenography; transcript
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 1     APPEARANCES (CONTINUED):

 2     For the Defendant:           ESTHER YONG McGRAW, ESQ.
                                    FERNANDO AMARILLAS, ESQ.
 3                                  CONRAD Z. RISHER, ESQ.
                                    OFFICE OF THE ATTORNEY GENERAL FOR
 4                                  THE DISTRICT OF COLUMBIA
                                    441 4th Street, NW, Suite 630 South
 5                                  Washington, DC 20001
                                    (202) 442-9887
 6

 7     Court Reporter:                   Lisa A. Moreira, RDR, CRR
                                         Official Court Reporter
 8                                       U.S. Courthouse, Room 6718
                                         333 Constitution Avenue, NW
 9                                       Washington, DC 20001
                                         202-354-3187
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 1                           P R O C E E D I N G S

 2                 THE COURTROOM DEPUTY:     Your Honor, we're on the

 3     record for Civil Case 17-1757, Shonice Garnett, et al. vs.

 4     Laura Zeilinger, et al.

 5                 Counsel, if you could please approach the lectern

 6     and identify yourselves for the record.

 7                 THE COURT:   Don't be shy.

 8                 MR. COHAN:   Yes.   Thank you.

 9                 Good morning, Your Honor.      My name is Marc Cohan.

10     I'm with the National Center for Law and Economic Justice.

11     I'm one of the attorneys representing plaintiffs in this

12     matter.

13                 THE COURT:   Mr. Cohan, how are you?

14                 MR. COHAN:   I'm very good.     Thank you, Your Honor.

15                 MS. MEZEY:   Good morning, Your Honor; Jennifer

16     Mezey from the Legal Aid Society of the District of

17     Columbia, also co-counsel for the plaintiffs.

18                 THE COURT:   Ms. Mezey.

19                 MS. MEZEY:   Thank you.

20                 MR. MURASHIGE:    Good morning, Your Honor; Lance

21     Murashige from Hogan Lovells on behalf of the plaintiffs as

22     well.

23                 THE COURT:   I'm trying to keep you all straight.

24     I don't usually get this many introductions.

25                 MS. WELBORN:    Good morning; Kaitlin Welborn, Hogan
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 1     Lovells, for the plaintiffs.

 2                 MR. LE:   Good morning, Your Honor; Chinh Le from

 3     the Legal Aid Society of the District of Columbia on behalf

 4     of the plaintiffs.

 5                 THE COURT:   Mr. Le.

 6                 MS. YONG McGRAW:     Good morning, Your Honor; Esther

 7     Yong McGraw on behalf of the defendant, Laura Zeilinger and

 8     the District of Columbia, and with me at counsel table is

 9     Fernando Amarillas and Conrad Risher.

10                 THE COURT:   Okay.    Good morning, everyone.      I hope

11     you all didn't have too much trouble getting in the

12     courthouse today.     We're very busy.

13                 Before we get started -- I know we have a good

14     deal of material to get through -- let me just try to frame

15     the issues from my perspective a little bit.

16                 As I indicated in the minute order, I'd like to

17     spend the bulk of the time this morning discussing the

18     preliminary injunction motion, and I am mostly interested in

19     what standard I should apply in deciding both whether the

20     plaintiffs have shown a likelihood of success on the merits

21     with respect to whether there was a violation of the statute

22     or not and, B, in deciding whether an injunction should

23     issue on one or more of the plaintiffs' claims.

24                 On the first question, whether there's been a

25     statutory violation, it seems fairly clear to me from the
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 1     case law that the statute requires strict compliance with

 2     the applicable time limits, and no one has suggested here

 3     that the District has achieved 100 percent compliance with

 4     any of the relevant time limits; but on the second question,

 5     whether an injunction should issue, I don't think even the

 6     plaintiffs would suggest that if the defendants had a 99

 7     percent compliance rate with all of the deadlines that it

 8     would be in the public interest to issue an injunction in

 9     this case.

10                  So, you know, the question I have is where the bar

11     should be set and, relatedly, what evidence I should rely on

12     in deciding whether that standard has been met.

13                  Now, on that point, it strikes me that the most

14     current data in the record -- and the data that the

15     discovery period in this case was designed to bring

16     forward -- are the FY 2017/Q1 2018 quarterly reports to FNS,

17     and what I read that data as showing, facially at least, is

18     that the District's processing of initial applications, both

19     the standard applications and the expedited applications, is

20     not only improving but is currently at the 95 percent level

21     that FNS deems to be acceptable nationally.         So my

22     overarching question to the plaintiffs would be why placing

23     DHS under a court injunction with the possible sanction of

24     contempt for noncompliance is necessary and in the public

25     interest at this juncture.
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 1                 But on the other hand, that same data seems to

 2     suggest that DHS is lagging in the processing of

 3     recertification applications by a fairly substantial amount

 4     below FNS's 90 percent threshold for corrective action

 5     plans, and so the overarching question I would ask the

 6     District is, why wouldn't an injunction be appropriate to

 7     remedy what appears to be continuing deficiencies in that

 8     particular area.     Okay?

 9                 Why don't we start with the plaintiffs.

10                 MR. COHAN:   Thank you, Your Honor.

11                 THE COURT:   You're welcome.

12                 MR. COHAN:   With the Court's indulgence, the way

13     plaintiffs have divided the argument is I will speak to the

14     questions you've identified as part of the preliminary

15     injunction issue.     As to those questions the Court may have

16     as to either individual named plaintiffs or as to the notice

17     claims, Jennifer Mezey, with the Legal Aid Society, would

18     speak to those.

19                 Your Honor indicated that you don't anticipate

20     necessarily having many in the way of questions as to class

21     certification, but in the event that you do, Mr. Murashige

22     with Hogan & Lovells would be the person who would be in the

23     best place to answer those questions.

24                 THE COURT:   Great.

25                 MR. COHAN:   Turning to the questions and the
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 1     framing that the Court set forth, we agree, of course, with

 2     the Court that the standard for ascertaining whether or not

 3     the defendants have met the requirements of 7 USC 2020(e)(3)

 4     and (e)(9) is one of absolute compliance, and we also agree

 5     with the Court that if defendant were at this point

 6     appearing before this Court at 99 percent or 98 percent, we

 7     would certainly not be here.

 8                 We're here because we believe that the evidence

 9     demonstrates that as to both initial applications and as to

10     recerts the defendant is considerably below the standard of

11     what the Court requires.

12                 So let me turn, if I may, first --

13                 THE COURT:   The standard of what the statute --

14                 MR. COHAN:   What the law requires.      What the law

15     requires.    I apologize.

16                 As to -- let me turn, if I may, though, to the

17     initial applications first.

18                 We would suggest that the FNS-366B is not the

19     correct tool to use to measure defendant's compliance with

20     the timely processing of initial applications.         As set forth

21     in the reply to defendant's response to our motion for

22     preliminary injunctive relief, the FNS-366B was filled out

23     incorrectly the first time around and is still filled out

24     incorrectly.    But before I go into the question -- into

25     explaining why the 366B is an unreliable measure, even if we
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 1     were not able to demonstrate that, the defendant actually

 2     acknowledges that it's not meeting the timely processing

 3     requirements for initial applications, and we should take

 4     the defendant at their word.

 5                 Basically the defendant seems to have two stories

 6     they want to tell.     They have one story they want to tell

 7     plaintiffs and this Court in which they allege that they are

 8     meeting a certain performance level.         They have a different

 9     story they tell to FNS, and that story is best demonstrated

10     by a document that we sought to ask this Court to have

11     admitted as a supplemental exhibit in support of the motion

12     for preliminary injunctive relief.

13                 And I refer this Court, Your Honor, to document

14     ECF 50-4.    This is a document generated by defendant dated

15     December 14, 2017.     It's in response to FNS's finding that

16     the defendant is failing to meet the processing requirements

17     for initial applications.

18                 FNS found that defendant was at the upper bound of

19     the -- based on FNS's sampling protocol, at the upper bound

20     of 88.45 percent.     It actually found that defendant was

21     closer to 79 percent in terms of timely processing of

22     initial applications, but because FNS has a -- acknowledges

23     that there is a sampling interval --

24                 THE COURT:   Okay.    Let's --

25                 MR. COHAN:   Please.
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 1                 THE COURT:   -- pin that.     That 79 percent number

 2     was based on a sampling of 80-some-odd cases.         What evidence

 3     is there that that sample was limited to initial

 4     applications as opposed to also including recertifications?

 5                 MR. COHAN:   Yes, Your Honor.     The evidence of that

 6     is that when -- is the FNS sampling protocol, which is set

 7     forth in federal regulation.       Under the terms of the

 8     sampling protocol that FNS engages in, they are looking at

 9     two things to determine the sampling frame, if you will.

10     The first thing they look at is applications that were

11     approved, and then they look at initial applications.          They

12     do not look at recertifications.       They do not look at denied

13     applications.    They only look at initial approved

14     applications.

15                 THE COURT:   Okay.    And just so that I'm following

16     this --

17                 MR. COHAN:   Yes, please.

18                 THE COURT:   -- where in the record does it

19     establish that?

20                 MR. COHAN:   I am not positive it's in the record

21     itself.   It's actually in the federal regulations, which we

22     can easily provide to the Court --

23                 THE COURT:   Okay.

24                 MR. COHAN:   -- and the subregulatory material FNS

25     generates in terms of its QC protocols.
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 1                 THE COURT:    Why would they exclude recertification

 2     applications?

 3                 MR. COHAN:    Because under the -- two reasons, Your

 4     Honor.    First, under the purpose of the sampling, they're

 5     looking to determine initial applications going into the

 6     population of data because they have, as part of their

 7     federal QC requirements, to look at a single data element,

 8     and that single data element is initial applications, and

 9     that's what they use to measure two things.

10                 Number one, whether the states and the districts

11     must, in fact, improve; also whether or not the states and

12     the districts are entitled to a performance bonus, and

13     certain states, in fact, perform so well that they're

14     entitled to a performance bonus.        As a chart that one of the

15     exhibits in this record indicates, some states were in fact

16     at 100 percent or 101 percent because of the use of the

17     upper bounds.

18                 The other reason is that, as a practical matter,

19     the recertification question, as defendant correctly notes,

20     is one that involves different moving parts that FNS has

21     not -- has made a decision for administrative ease to not

22     look at.

23                 So FNS wanted to get at the recertification data,

24     and that's why it uses the 366B in order to be able to get

25     at that data.     This is an administrative choice made by the
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 1     agency, and it's one that's incorporated both in their

 2     regulation and in the quality control measure.

 3                  THE COURT:   Okay.

 4                  MR. COHAN:   FNS was aware --

 5                  THE COURT:   So what's your point with respect to

 6     the December 14th letter?

 7                  MR. COHAN:   So the point in regard to the December

 8     14th letter, Your Honor, is if you take a look at the last

 9     paragraph.    The District acknowledges that based on FNS's

10     October 23, 2017, letter, which requires a corrective action

11     plan, the -- because the District, based on the August

12     reporting of the data for the period from September 1st

13     through March 30th, was not meeting its timely performance

14     requirements, that the District had to submit a corrective

15     action plan.     FNS found that corrective action plan to be

16     insufficient and has -- and the District agreed to do

17     additional improvement.

18                  So in the last paragraph the District informs FNS

19     that "Our plan includes reports to demonstrate progress as

20     we work towards 95 percent ATP" --

21                  THE COURT:   Okay.

22                  MR. COHAN:   This is in December.

23                  -- "and with these initiatives and the careful

24     monitoring of effectiveness of DCAS, we can reach our goal

25     of 95 percent one year from the date of the CAP approval."
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 1                 So this assumes that even if the CAP was approved

 2     the next day, December 15th, which we have no evidence it's

 3     been approved yet, that the earliest that the District is

 4     promising to reach 95 percent is one year from that date.

 5     That would be December 15, 2018.

 6                 THE COURT:    Okay.   And same question, what

 7     evidence in the present record is there that when the

 8     District sets a goal at 95 percent, that does not include

 9     the recertifications as well?

10                 MR. COHAN:    Because this is in response to the

11     finding by the -- by FNS that they have failed to meet.

12                 THE COURT:    The 89 percent finding?

13                 MR. COHAN:    That's correct.

14                 THE COURT:    Okay.   So they would have -- the

15     District would have to know that that finding was limited

16     to -- would have to appreciate that that finding was limited

17     to --

18                 MR. COHAN:    Yes; that is correct, Your Honor.

19                 THE COURT:    -- initial applications, okay.

20                 MR. COHAN:    And, you know, the District -- what's

21     interesting about this is the District had two choices.         The

22     District could have -- so -- I'm sorry, if I may, then

23     turning your attention to Document 50-5, and at that point

24     the FNS response to the District is basically saying, "We

25     are writing a response to the draft Corrective Action Plan
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 1     submitted designed to improve," and it says, "We have

 2     reviewed the material and cannot accept the plan at this

 3     time as is.     We find that it contains insufficient detail to

 4     be approved."

 5                 And it basically says, at a minimum, the

 6     corrective action plan should include an analysis of the

 7     root causes of the timeliness issue and the steps we'll take

 8     to address these root causes, and milestones for achieving a

 9     95 percent application process timeliness rate one year from

10     the date of the CAP approval should also be included in the

11     CAP.   And then it speaks in terms of monitoring application

12     timeliness is critical.

13                 So this is all relating to the FNS's relationship

14     with the District in terms of the requirement of the

15     District to process initial applications timely.          And,

16     again, the -- all of this is set forth in great detail in

17     federal regulations that defines, number one, what the

18     quality control process is and, number two, what the

19     District must do in the event that the quality control

20     process is not met.

21                 Because we were submitting these records to --

22     these documents to supplement the record, we did not brief

23     extensively what those QC requirements are, but we'll be

24     glad to submit a short letter to the Court after this

25     argument, if the Court wishes.
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 1                 THE COURT:    Okay.   These documents were produced

 2     in response to a FOIA request.       Is that --

 3                 MR. COHAN:    Yes, that is correct, Your Honor.

 4                 THE COURT:    And were they just recently received?

 5     It's January 30, 2018.

 6                 MR. COHAN:    That is correct, Your Honor.

 7                 THE COURT:    And that's why they're not in the

 8     record?

 9                 MR. COHAN:    Yes, that is correct.

10                 THE COURT:    Okay.

11                 MR. COHAN:    And what is also interesting about the

12     January 30, 2018, letter is that the -- FNS goes on to say

13     to the District that monthly reporting is required, and

14     what's significant about that is the District, in our

15     experience across the country, is the only food stamp

16     program that does not have monthly reporting to be able to

17     determine the timely processing of applications.          That's

18     critical both as a way of being able to demonstrate

19     compliance with the law, but it's also critical --

20                 THE COURT:    Haven't -- aren't there scores of

21     biweekly reports in the --

22                 MR. COHAN:    The biweekly reports that they produce

23     are reports that go -- that look at individual cases,

24     handfuls of cases, to be able to engage -- understand where

25     some issues may have gone wrong as they're rolling out the
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 1     DCAS.

 2                 This is sort of --

 3                 THE COURT:    But they're tracking backlogs and

 4     failed applications.      I mean, they seem to be plenary in

 5     some senses, correct?

 6                 MR. COHAN:    Some sense, but as they assert, for

 7     example, as to the failed submissions, that those failed

 8     submissions don't give them information, according to

 9     defendant, as to whether or not those applications are

10     timely or not because they assert that's only tracking the

11     effectiveness of the DCAS system.        They assert that workers

12     will then manually enter those failed applications into the

13     system.

14                 Our point is that openly what they need is whole

15     population data that tracks an application from the date of

16     submission to the date of either approval or denial to see

17     whether or not it meets the 30-day standard.          FNS has

18     amended its own regulations that require that very monthly

19     monitoring reporting at 7 CFR 272.15(b), and defendants are

20     not meeting that monthly reporting requirement --

21                 THE COURT:    Okay.

22                 MR. COHAN:    -- which is why the letter requests --

23                 THE COURT:    That's a little too far into the

24     weeds, and maybe I --

25                 MR. COHAN:    Fair enough, Your Honor.
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 1                 THE COURT:    But let's back up.     Your point

 2     regarding the 90 to 95 percent compliance rates that are

 3     reflected in the quarterly reports to FNS is that they are

 4     not -- for initial applications and expedited applications

 5     is that they are not to be believed because the District is

 6     telling the FNS in response to the corrective action plan

 7     mandate that it won't be able to get to 95 percent for

 8     another year.     Is that the point?

 9                 MR. COHAN:    That's one part of the point, Your

10     Honor.

11                 The second part of the point is that -- and that

12     circles back to the problem we have with the 366Bs, the

13     366Bs being submitted to the Court, both the revised ones

14     and the most recent one.       The revised ones would indicate

15     the defendant is performing far above the findings of FNS.

16     The most recent report submitted, the most recent quarterly

17     also indicates that as to initial applications they are

18     performing far above the rate found by FNS.

19                 As to the initial --

20                 THE COURT:    But the last -- as you say, the most

21     recent data from FNS, that audit report that's a sample,

22     covers activity back in 2016.       So the quarterly reports that

23     are being submitted, there's a mismatch between the time

24     periods covered and the latest FNS audit.         Is that fair?

25                 MR. COHAN:    Well, yes and no, Your Honor.
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 1                  THE COURT:   So how can you compare those two

 2     things?

 3                  MR. COHAN:   You can compare it very simply for two

 4     reasons.    First off, the defendant, as part of its

 5     submission in this case, submitted its revised 366Bs that

 6     cover the exact same time period.        So if one were to compare

 7     their revised 366Bs for the same quarters, their performance

 8     is not --

 9                  THE COURT:   So that would be Q1 of '17 and Q2 of

10     '17.

11                  MR. COHAN:   That is correct.

12                  THE COURT:   Okay.

13                  MR. COHAN:   So you can compare, and they're very

14     different.    That's number one.

15                  Number two is -- again, what is most telling is

16     that defendant did not say to FNS -- when FNS said your

17     performance is below what it should be and you have to

18     submit a CAP, which is an extremely onerous activity,

19     defendant didn't write back and say, "Actually, we disagree.

20     We have whole population data in the 366B, which you wanted

21     us to submit, that shows at a very different performance

22     level."

23                  You know, in this case, what would be the normal

24     conduct of somebody confronted with evidence that they're

25     not meeting their legal requirements, normally what somebody
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 1     would do, if they believed in their heart of hearts that

 2     they were, is to say, "We think you're wrong.          You've got a

 3     sample.    We've got full population data.       Here's our whole

 4     population data.     Give us another chance to convince you

 5     that we're actually meeting our legal performance

 6     requirements, and we should not be subject to FNS sanctions

 7     and possible withholding of administrative reimbursement

 8     money."

 9                 They didn't do that.      They didn't -- they didn't

10     push back at all.     They immediately said, "You're right.

11     We're wrong.     We'll do a corrective action plan.       We need a

12     year."

13                 You know, it's a very telling communication to FNS

14     that's wholly at odds with the defense that they're putting

15     forward in this lawsuit.       And I'm not surprised because, as

16     we pointed out in our reply to defendant's response,

17     defendant still did not complete the 366Bs correctly.             The

18     first time around they admitted they put in the wrong data

19     in the wrong columns.      They misunderstood what they were

20     supposed to do.     During the course of the deposition the

21     director basically said thank you to plaintiffs for pointing

22     out that the 366Bs were in error.        They went back.        They

23     took a look.

24                 And so one of the questions that I asked the

25     director during the course of the deposition was what data
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 1     got entered into the various squares as to initial and

 2     expedited and 30-day applications, and she says, "We listed

 3     the applications based on filing date."         So from her point

 4     of view -- for example, if you look at the most recent

 5     exhibit that is submitted at ECF 48-2, which is dated

 6     January 31, 2018, defendant says the numbers that are in

 7     these columns under initial application --

 8                 THE COURT:    Hold on.    This is one of the reports?

 9                 MR. COHAN:    Yes, Your Honor.

10                 THE COURT:    Let me get on the same page.

11                 Okay.

12                 MR. COHAN:    Okay.   So during the course of the

13     deposition, Your Honor, defendant testifies -- and they

14     produced the director as their 30(b)(6) witness, and she

15     testifies that what the District did is it entered into the

16     columns for initial applications and for expedited

17     applications, applications based on date of filing.             So from

18     her testimony what the District did is that represented in

19     this quarter, from October 2017 through December 2017, are

20     applications filed during that quarter.         What FNS requires

21     is this to be applications processed during the quarter.

22                 Why does that -- why that distinction?        Because if

23     it's applications that are processed during this quarter,

24     you have the results of all application determinations in

25     the period from October 1, 2017, through December 31st.            On
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 1     the other hand, if you only list applications that were

 2     filed in the quarter, those applications that were filed in

 3     the latter part of the quarter -- for example, applications

 4     filed in December -- if they're late, they're not going to

 5     be picked up in this document at all.

 6                 So this is not an accurate way of being able to

 7     collect data.

 8                 THE COURT:    But if you look at multiple quarters,

 9     isn't that all going to come out in the wash?          Because

10     you're capturing some and leaving out the others, and if you

11     take a longer-term view, at some point they're all going to

12     get captured.

13                 MR. COHAN:    It would, except that would assume

14     that you were picking up in the later quarters the

15     determinations.     If all you're ever doing is tracking

16     applications filed in the quarter, you would -- if that

17     application was not filed in a subsequent quarter, it would

18     never be picked up again.       It's completely off the

19     District's radar screen for reporting on the 366B because

20     this is reporting only on applications filed in the quarter,

21     according to the director's testimony.         A very critical

22     distinction.

23                 The determinations, which is why FNS requires it

24     to be done based on determinations, would address Your

25     Honor's observation, because if an application should have
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 1     been filed -- I'm sorry, should have been processed in

 2     October, but it wasn't, it didn't get processed until

 3     January, then it would get picked up on the January report

 4     because it's a report on decisions made, determinations,

 5     timely determinations.      This is only tracking applications

 6     filed.    It also -- therefore, we don't know anything about

 7     applications that were pending at the time that this report

 8     was prepared.

 9                 So given a choice between weighing the veracity of

10     a 366B where defendant admits using a faulty methodology or

11     weighing the fact that FNS found a failure to timely comply

12     and defendant, given a choice, did not push back against

13     that finding but basically allocuted to the finding, to use

14     sort of a criminal analogy, and said, you know, "Tell me the

15     penalty we have to suffer in order to be able to get out

16     from under a worse penalty," that's a very telling statement

17     against interest by the part of the government or the

18     defendant, in this context, and we think it's one that this

19     Court is entitled to give great weight to.         And it also

20     makes sense because it sort of strains credibility --

21                 THE COURT:    Is there another FNS audit scheduled

22     any time soon?

23                 MR. COHAN:    Pardon?

24                 THE COURT:    Is there another FNS audit scheduled

25     any time soon?
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 1                 MR. COHAN:    We don't know -- there will probably

 2     be another FNS audit that would result as part of their

 3     review of the corrective action after the corrective action

 4     plan has been approved and in place, but we don't know the

 5     timing on that, and, since defendant has said they need

 6     until December of 2018 to be able to improve their

 7     performance, we just don't know.

 8                 THE COURT:    Let's take a step back.      Assume I

 9     agree with everything that you just said and that the most

10     relevant statistic is the 89 percent compliance rate as

11     found in the last FNS audit.       Why isn't that -- why wouldn't

12     that be good enough given that they are under supervision by

13     FNS; there's a corrective action plan; they're working

14     towards getting better?      Even if you don't take the absolute

15     statistics in the quarterly report, there seems to at least

16     be an upward trend regardless of what methodology is used.

17                 Why would the public interest be served in

18     imposing an injunction, or why would an injunction be

19     necessary to get them from 89 percent up to 95 percent?

20                 MR. COHAN:    Well, two things, Your Honor.         We

21     don't agree that 95 percent is, in fact, the standard to

22     which they should be held accountable.         Under, for example,

23     the case law in Withrow v. Concannon out of the Ninth

24     Circuit and out of Haskins v. Stanton, Seventh Circuit, and

25     other cases, that basically defendants should be required to
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 1     process applications absolutely except for those individual

 2     isolated failures that are inevitable in any large

 3     bureaucracy, but what they should be doing is focusing on --

 4                 THE COURT:    Even if the federal agency that

 5     oversees compliance has -- would deem that level of

 6     compliance to be acceptable nationally?

 7                 MR. COHAN:    Yes.   And that's both because FNS --

 8     FNS has a very different role in this entire process than do

 9     plaintiffs.     FNS has a responsibility, as an administrative

10     agency, to ensure that the federal food stamp program

11     dollars are being spent appropriately.         They want -- they

12     set certain benchmarks.      They set certain parameters.

13                 THE COURT:    And they can withdraw dollars.

14                 MR. COHAN:    Pardon?

15                 THE COURT:    They can withdraw dollars.

16                 MR. COHAN:    They can.

17                 THE COURT:    Why isn't that an effective hammer or

18     incentive for compliance?

19                 MR. COHAN:    As the Court pointed out in Withrow v.

20     Concannon and as the Court also pointed out in Briggs v.

21     Bremby, it's basically the death knell of an agency.            If

22     they withdraw money from an agency, it's administrative

23     dollars.

24                 The federal food stamp dollars are 100 percent

25     federal money.     So the only money that goes directly to
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 1     defendant is the administrative dollars.         If FNS takes that

 2     away, the agency, for all intents and purposes, cannot keep

 3     staff going in order to -- so FNS views it, quite correctly,

 4     as a draconian remedy.

 5                 Instead, as the Court has found in Withrow and in

 6     Briggs, plaintiffs have a very different interest at stake.

 7     Their interest -- you know, we're talking numbers.              We're

 8     talking percentages.      What this case is openly about is low-

 9     income families that cannot put food on the table, and the

10     Court has recognized that that stake gives plaintiffs an

11     interest in a more vigorous, more robust remedy than FNS

12     might impose.     It gives defendant -- I'm sorry, it gives

13     plaintiffs a strong interest in holding the feet to the

14     fire.

15                 So that's why, for example, in Briggs v. Bremby in

16     the District Court of Connecticut, even though FNS was

17     involved in corrective action, the Court issued a

18     preliminary injunction requiring defendant to submit its own

19     corrective action plan to the Court demonstrating how it

20     would get above 95 percent.       That was affirmed by the Second

21     Circuit.    FNS submitted an amicus to the Second Circuit

22     indicating that FNS is fully comfortable and appreciates the

23     sort of role that plaintiffs can play in a case like this --

24     food stamp applicants and recipients -- to hold a state's

25     feet to the fire.
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 1                 This sort of parallel tracks, if you will, Your

 2     Honor, and that's why we believe here, to mitigate the

 3     harm -- I mean, the harm we're talking about --

 4     notwithstanding defendant suggesting there is no harm

 5     because they basically want to somehow shift the blame to

 6     plaintiffs' counsel or plaintiffs themselves or a vendor or

 7     a third party, the bottom line is the harm has been

 8     recognized by every court to look at this as being profound,

 9     serious, and irreparable.       It's people going hungry because

10     they don't get food.

11                 This is -- FNS has its own regulations.        Congress

12     has said something very unique in the context of the food

13     stamp program.     Congress has said in a statute that you have

14     to feed certain hungry people within seven days of

15     application.     So that, to us, is a very strong, very

16     particularized mandate.      The rest of the population may be

17     able to wait 30 days, but certain folk must be fed within

18     the seven days.

19                 One of the issues that is embedded in the FNS

20     quality control process is they don't even drill down into

21     the difference between expedited and regular.          So we would

22     certainly want -- as part of the corrective action plan, we

23     would ask this Court to direct defendant to submit how it's

24     meeting the requirement for expedited households as well.

25                 So what we would be asking this Court to do, and
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 1     we believe it's appropriate under the circumstances, is to

 2     submit a corrective action plan within 30 days giving

 3     plaintiffs an opportunity to comment that demonstrates how

 4     they will meet absolute compliance within 90 days of the

 5     date that this Court issues its injunction and to

 6     demonstrate, either through statistically significant random

 7     sampling or whole population data, how it is meeting the

 8     requirements of the court order.        That is relief that has

 9     been routinely granted by other courts in one form or

10     another around this country addressing these kinds of

11     systemic failures.

12                 And it's not -- you know, the notion of the

13     monthly monitoring -- again, this is the only district that

14     does not produce monthly monitoring in the entire country,

15     that we're aware of, so they should certainly be doing that.

16                 THE COURT:    And you're requesting that relief in

17     the form of a preliminary injunction?

18                 MR. COHAN:    Yes, Your Honor.

19                 THE COURT:    Not just a permanent injunction.

20                 MR. COHAN:    That is correct, because we believe

21     there's urgency here that -- again, because the

22     irreparability of harm, the hungry families that are at

23     stake, that we believe this Court should act.

24                 We believe there may be additional or appropriate

25     relief that would come out in the course of a permanent
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 1     injunction, but at this point we believe we've established a

 2     likelihood of success on the merits.        Certainly there is

 3     irreparability of harm.      We believe both of those together

 4     weigh in favor of the public interest.

 5                  As the Court observed in Haskins v. Stanton, the

 6     requirement to comply with the food stamp program is not

 7     imposed by the Court.      The requirement to comply is imposed

 8     by the statute.     We're asking the Court to impose -- to

 9     enforce that requirement, not to impose it.         And we believe,

10     again, because of the urgency involved, that this Court

11     should act expeditiously, and we would -- again, we briefed

12     this extensively and can certainly supplement with any

13     questions the Court has, but every court that has addressed

14     this where there has not been a settlement has issued a

15     preliminary injunction when it has made a finding of

16     liability, and we believe here there is that finding of

17     liability.

18                  THE COURT:   Okay.   Let's just -- I want to go back

19     to these numbers for a minute --

20                  MR. COHAN:   Please.

21                  THE COURT:   -- because I think it's pretty

22     critical.    I mean, while, you know, I've read the

23     declarations that your individual clients have submitted, I

24     sympathize with them.      I think that they are troublesome in

25     some respects, particularly having to stand in line -- you
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 1     know, show up at 3:00 in the morning and stand in line and

 2     the like, but I don't see any other way in deciding this

 3     question than to do it in gross based on, you know,

 4     statistical compliance, and so the numbers, I think, are

 5     important.

 6                  And if I'm hearing you correctly, your two

 7     arguments as to why the reported 95 percent recent

 8     compliance rates cannot be believed and your argument that

 9     you will be able to prevail on the merits in showing that

10     those numbers are not to be believed are, one, the

11     inconsistencies with what the District has told FNS and,

12     two, the fact that they don't include or they only include

13     applications that were processed in that quarter, not

14     applications that were filed in that quarter.          Is that fair?

15                  MR. COHAN:   If I may correct that just a little

16     bit, Your Honor.     As to the second part, it's -- they

17     include only applications filed in the quarter.

18                  THE COURT:   Filed in the quarter.

19                  MR. COHAN:   Not determinations made in the

20     quarter, which we think is critical.

21                  The other thing is --

22                  THE COURT:   And is there any basis for estimating

23     how the numbers would change if they considered filed

24     applications as opposed to simply determinations?

25                  MR. COHAN:   We do not know, if by doing it wrong,
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 1     how much they've skewed the data.        However, we do have a

 2     data point.

 3                 THE COURT:    And is it 1 percent?     Is it 5 percent?

 4     Is it 10 percent?

 5                 MR. COHAN:    It's impossible to know, Your Honor,

 6     because what we would need to capture are those applications

 7     that were filed and were still pending at the end of the

 8     quarter, particularly those applications that were pending

 9     that were untimely.      That's largely an unknowable.

10                 The reason it's an unknowable is because the

11     District, unlike every other district in the country, does

12     not keep that kind of granular data.        It doesn't keep it as

13     a management tool.      It doesn't keep it to report to FNS.     It

14     doesn't keep it to inform itself in terms of how it's

15     performing.

16                 What we do know is that if we -- the only reliable

17     data source that we have is one that is by an external

18     validator, FNS, that comes in and conducts its own review of

19     defendant's files, and defendant at that point doesn't

20     simply say, you know, "We disagree."        It makes basically a

21     statement against its own material interest by saying,

22     "We're going to take your results, and we're going to submit

23     a corrective action plan, and we're going to comply with

24     that corrective action plan."

25                 When FNS comes back and says that corrective
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 1     action plan is not enough, we don't -- defendant has not

 2     submitted anything to the Court saying to FNS, "Well, good

 3     news, we're actually performing very nicely.          Thank you very

 4     much.    Here's the corrected 366Bs that cover the same time

 5     period."    Defendant is completely silent.

 6                 So I don't think that we should be putting a lot

 7     of credit in 366B results the defendant is not even willing

 8     to put forth before FNS, the oversight agency, and stand

 9     behind.    I think that's a very critical thing to note here.

10                 The only place they're using this data is in a

11     defensive crouch in litigation, which is --

12                 THE COURT:    Okay.   I saw in the record some FNS

13     guidance as to how the numbers should be reported.              Does

14     that -- is there any guidance that speaks to how that -- how

15     those fields should be populated?        Whether they should

16     include just applications filed in the quarter or

17     applications processed in the quarter?

18                 MR. COHAN:    Yes, Your Honor.     There is in the

19     record -- we do include as part of the record the FNS

20     guidance to the District and to the states about how to

21     properly fill out --

22                 THE COURT:    Okay.

23                 MR. COHAN:    -- the 366Bs, and if you can give me a

24     moment, one of my colleagues, I'm sure, will be able to give

25     us the ECF citation to that.
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 1                 THE COURT:    That would be great.

 2                 MR. COHAN:    If I may turn, though, to something

 3     else, where the Court asked about whether or not -- should

 4     the injunction issue, and I would submit here, Your Honor,

 5     that the injunction should issue for another reason in

 6     addition to the irreparable harm in terms of the balancing

 7     of interests, and that's that there is very little harm to

 8     the defendant for the injunction issuing, but there is very

 9     strong public interest in knowing that the government

10     agencies that are funded from tax dollars are, in fact,

11     meeting the requirements they're supposed to.

12                 What we're asking the defendant to do is not to

13     divert resources, not to hire additional staff.          If they

14     choose to do that, that's their choice.         We're not asking

15     the defendant to do a new project or a new program.

16                 What we're asking them to do is that which they

17     are already legally mandated to do under federal statute,

18     and how -- and we're perfectly prepared to even say to this

19     Court that if the Court orders them to submit a corrective

20     action plan demonstrating how they're going to do it, that

21     leaves to the defendant the opportunity to come forward and

22     figure out what its best tools are to be able to accomplish

23     that.    But we believe that a federal court order vests in a

24     person receiving it a far greater degree of seriousness or

25     an awareness of sort of the burdens that they're under.
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 1                 If you will, the old expression that a hangman's

 2     noose has the ability to focus somebody, the remedies that

 3     are available to report are far more surgical, far more

 4     nuanced, and frankly, for a defendant who refuses to comply

 5     with the Court order, far more concerning than the

 6     possibility that FNS might, years down the road, choose to

 7     withhold some percentage of administrative funding to which

 8     defendant could then appeal through a laborious and lengthy

 9     administrative process.      That process would take years,

10     Judge, where a court order would force them to address their

11     failure, which has been a persistent failure -- this is not

12     something new -- fairly quickly.        And it does not make sense

13     for this Court to issue an injunction only as to the

14     recertifications where defendant could somehow shift

15     resources away from the processing of initial applications

16     focused on recerts.      By covering the entire waterfront of

17     applications, we're ensuring that both initial applications,

18     expedited and 30-day, as was recertifications, are being

19     timely processed.

20                 THE COURT:    I think this would be an easy case if

21     the numbers showed that they were in the 75/80 percent

22     range, as is the case in many of the cases that you've cited

23     and that I've read where injunctions have issued.          You know,

24     what I'm struggling with is what happens if you're in the 88

25     to 93 percent range, and I'm not sure we still have a real
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 1     stationary target as to what the rate actually is.

 2                 MR. COHAN:    I would say even if they were at 93

 3     percent, 94 percent, this Court should issue an injunction

 4     as the Second Circuit observed in Robidoux v. Celani where

 5     the defendant was within basically 2 to 3 percent of

 6     absolute compliance, that that --

 7                 THE COURT:    Give me that one again.

 8                 MR. COHAN:    Yes, Robidoux -- R-O-B-I-D-O-U-X --

 9                 THE COURT:    Yes.

10                 MR. COHAN:    -- v. Celani, C-E-L-A-N-I.

11                 And in Fortin -- F-O-R-T-I-N -- v. The

12     Commissioner out of the First Circuit, the Court addressed

13     the question of, you know, what -- the Court addressed the

14     question of absolute versus substantial compliance, and the

15     Court said it really didn't matter because, as a practical

16     matter, the defendant wasn't even meeting a substantial

17     compliance standard, and at that point the Court observed

18     that there was 3 to 4 percent noncompliance, well above a 95

19     percent threshold.

20                 In Briggs v. Bremby, the Court imposed a 95

21     percent compliance -- that's Connecticut, also in the Second

22     Circuit -- and Robertson v. Jackson out of the Fourth

23     Circuit and Hess v. Hughes also of the Fourth Circuit.          The

24     Courts have imposed compliance standards where, again,

25     absolute compliance with a margin of error of somewhere in
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 1     the neighborhood of about 3 to 4 percent to recognize those

 2     sort of inevitable failures to comply.

 3                 So I think, Your Honor, that we would argue that

 4     the test really is not a hard numerical test.          The test at

 5     the end of the day is whether or not defendant is doing all,

 6     as Withrow points out, humanly possible to absolutely

 7     comply; however, for purposes of convenience at a

 8     preliminary injunction stage, we would argue that at a

 9     minimum we should be meeting the kinds of standards in cases

10     like Fortin, Robidoux, Robertson v. Jackson, and at a

11     minimum looking at a 3 to 4 percent margin of error.

12                 So we would submit that even at 88 percent you're

13     talking about more than one out of your ten families that

14     are doing without critical food stamps.         We would argue that

15     that is just completely and totally an unsustainable

16     position for defendant to be in in terms of meeting its

17     obligations to needy households under the Federal Food Stamp

18     Act.   The benefit that's at -- you know, if this were a case

19     about whether or not people were getting homes painted, you

20     know, and deadlines were being passed over and somehow a

21     federal agency has an obligation to come in post-hurricanes

22     and do some, you know, revitalization of homes, and they

23     missed some deadlines -- you know, but food is food is food,

24     and, you know, that's part of why Congress has acted to

25     impose such a sharp seven- and 30-day requirement.
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 1                 THE COURT:    Address the recertifications.

 2                 MR. COHAN:    Yes.

 3                 THE COURT:    What does the evidence show with

 4     respect to the current status of the backlog of

 5     recertification notifications?       I know there's this issue of

 6     the vendor error, but sitting here today what can I draw on

 7     to establish the District's compliance with the notice

 8     provision of the recert standard?

 9                 MR. COHAN:    Well, as to the notice provision

10     question, if I may, I'd like to let Ms. Mezey speak to that.

11                 THE COURT:    Sure.

12                 MR. COHAN:    What I would like to, though, ask the

13     Court to also recall is at the outset the Court did observe

14     that the evidence in the record certainly indicates that the

15     defendant is not timely processing recertifications.            The

16     notice issue, in some respects, is separate and apart from

17     that because, if people don't receive notice of the

18     obligation to recertify, they often walk in the door as a

19     new applicant because all of a sudden their food stamps

20     stopped.

21                 THE COURT:    I assume you're willing to rely on the

22     quarterly reports for the recert figures, huh?

23                 MR. COHAN:    At this point, Your Honor, we're sort

24     of at a place where you are, that we don't know what other

25     data to rely upon because defendant does not produce
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 36 of 78         36


 1     reliable data.

 2                 Defendant makes an argument that some degree of

 3     those cases are cases where individuals may be at fault or

 4     that they may, in fact, be ones where the defendant is being

 5     very nice and allowing them to process late, but they have

 6     no numbers they come up with.       They speculate.     And so even

 7     as we point out in our reply, that if you give defendant the

 8     benefit of the doubt that 50 percent of the delayed cases

 9     were somehow the fault of the recipient or the fault of

10     somebody else, what you're stuck with is still 20 percent of

11     all the recertifications, according to defendant's own data,

12     are late.

13                 One reason it doesn't matter whether or not the

14     defendant records the data in recerts but it does matter in

15     terms of applications is because you can have false

16     positives, but it's very hard to have false negatives in

17     this context.     So the fact that the defendant is reporting

18     such a high degree of nonperformance, I think they have to

19     live with the data that they're submitting to the Court as

20     proof of their own performance.

21                 I would also suspect -- argue that it's highly

22     incredible that defendant could somehow be performing so

23     poorly in terms of recertifications and somehow so well in

24     terms of initial applications when they have a unified

25     system.    It's not as if they have one office over here
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 1     that's entirely dedicated to initial applications with its

 2     own staff.

 3                  THE COURT:   Well, unless this vendor error

 4     resulted in a huge number of backlogs that they've been

 5     trying to work down since last summer.

 6                  MR. COHAN:   Right.   But the difficulty with that

 7     is the testimony of the director that this represents

 8     applications filed during the quarter.         If this were, you

 9     know, determinations during the quarter, we would be

10     inclined to think there's that possibility because they're

11     finally getting to determinations that have been sitting out

12     there for months.     But the director's own testimony is these

13     are applications filed in the court of recertifications --

14                  THE COURT:   But we went from 3,400 filed in Q1 '17

15     in 9,600 filed in Q2 '17.

16                  MR. COHAN:   Right, absolutely.     That's because for

17     whatever reason they were not accepting applications for

18     filing.

19                  THE COURT:   Right.   So now all of a sudden you

20     have the same number of people trying to process three times

21     as many applications, recertification applications.

22                  MR. COHAN:   Right.   That may well be true, and by

23     this point --

24                  THE COURT:   So naturally your rate might be

25     expected to go down.
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 1                 MR. COHAN:    It might be expected to; it might not.

 2     We just don't know.      That's the difficulty here.

 3                 This is a certain degree of speculation, but,

 4     again, if it's an agency that's being overwhelmed by the

 5     numbers, it cries for the need for an injunction under a

 6     corrective action plan, and it also says to me there's no

 7     reason to believe that the numbers as to initial

 8     applications are trusted because, as a practical matter,

 9     there is no way to know that the agency is operating two

10     separate shops.     It's just not credible.

11                 And, Your Honor, I said we would supplement the

12     record as we went forward.       If Your Honor draws your

13     attention, if you would, to Paragraph 123 of Docket No.

14     31-1.

15                 THE COURT:    You're testing my command of the

16     record --

17                 MR. COHAN:    No, I'm not.

18                 THE COURT:    -- or my ready access to it.

19                 MR. COHAN:    I'm just hoping that one of --

20     somebody will make a notation in the record for you for

21     later, Your Honor --

22                 THE COURT:    Yes.

23                 MR. COHAN:    -- that Paragraph 123 of the

24     director's declaration in opposition to the preliminary

25     injunction sets forth the Web link to the instructions for
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 1     how to report the 366B data and then acknowledges in the

 2     same paragraph that there were additional clarifications

 3     offered six months after that.

 4                 So the defendant certainly is aware the 366B FNS

 5     guidance informs the defendant of the requirement to report

 6     applications determined, not applications filed.

 7                 THE COURT:    Hold on one second.

 8                 Okay.

 9                 MR. COHAN:    And if I may at this time, Your Honor,

10     ask Ms. Mezey to answer Your Honor's questions regarding the

11     recertification notices.

12                 THE COURT:    Great.   Thank you very much.

13                 MR. COHAN:    Thank you very much, Judge.

14                 THE COURT:    Ms. Mezey, step right up.      How are

15     you?

16                 MS. MEZEY:    I'm fine.    How are you?

17                 THE COURT:    Okay.

18                 MS. MEZEY:    I would also just like to note that we

19     have several of our plaintiffs and declarants in the

20     audience today.

21                 THE COURT:    Okay.    Welcome, ladies and gentlemen.

22                 MS. MEZEY:    So did Your Honor have specific

23     questions or --

24                 THE COURT:    Well, I want to get a handle on what

25     the notice backlog is, and I wondered -- there are
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 1     references in the biweekly reports to a fairly limited

 2     number -- I think 90 -- of current notice backlogs.

 3                 MS. MEZEY:    Uh-huh.

 4                 THE COURT:    And it is not entirely clear to me

 5     whether all of those relate to notice of recertification

 6     applications being due or whether there are some other

 7     notices that may be included in that backlog.

 8                 MS. MEZEY:    Well, I think that in line with the

 9     question --

10                 THE COURT:    And even if it's the case that there

11     are 90 recert -- a backlog of 90 recert applications,

12     doesn't that show that there is improvement or has been

13     improvement recently in DHS's processing of recertification

14     applications?

15                 MS. MEZEY:    Well, what we would submit, Your

16     Honor, is that the backlog is only a piece of the problem

17     with the sending out of notices of expiration as discussed

18     in our Claim 2, and with the Court's indulgence, I could

19     walk you through the various parts of the record where we

20     have evidence of systemic notice failures that also align

21     with our individual plaintiffs and declarants.

22                 THE COURT:    That would be helpful.

23                 MS. MEZEY:    So for people who were due to

24     recertify in July, this notice failure affected declarants

25     Christina Duncan, Ebony Coe, and Grant Lester, and at ECF
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 1     24-18, Page 31, the District reports to FNS, we had a job

 2     failure to recertification notices which caused the notices

 3     on 4/11 to fail.     So the notices are mailed out 60 days in

 4     advance, so it stands to reason that that -- that part of

 5     that notice failure included the recertification notices

 6     that those three declarants did not get.

 7                 You mentioned the September error.        In a way, I

 8     think the District is being misleading in referring to that

 9     as a vendor error because the vendor, of course, is the

10     agent of the District, and if that particular error was due

11     to the vendor, it was made clear during the deposition of

12     Director Zeilinger that prior to that error occurring there

13     was very little oversight or monitoring to ensure that the

14     vendor actually sent out the notices, and that the District

15     didn't even learn of this vendor error until September,

16     after people had already lost their -- had already lost

17     their benefits.

18                 THE COURT:    And the District has continued to

19     employ the vendor.

20                 MS. MEZEY:    Correct.

21                 THE COURT:    Okay.

22                 MS. MEZEY:    Then, in October, when plaintiff

23     Kathryn Harris and declarant Diane Yancey and Bruce

24     Meraviglia lost their benefits, there was an outgoing

25     message on the customer service line, which is at ECF 33,
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 42 of 78   42


 1     Pages 2 and 3, a declaration by my colleague, Chelsea

 2     Sharon, that there was an outgoing message that said

 3     something to the effect of, "If you lost your benefits for

 4     failing to recertify by October, this was due to a technical

 5     error.    We apologize."

 6                  At the same time, with Declarant Diane Yancey, who

 7     is an elderly woman with multiple disabilities who went

 8     without food because of this error, originally, when we

 9     called the customer service line, we were told that her

10     notice had been mailed out, but then, when we went through

11     the administrative review conference, it was found that she

12     should not have had her benefits terminated because, and I

13     quote, SNAP notices were not mailed out to customers that

14     month.

15                  And then to underscore the District's inability to

16     know that these failures had occurred, Mr. Amarillas, in the

17     December 2nd status conference before Your Honor, said that

18     the District didn't even know about this notice problem

19     until we had raised it in our motion for expedited

20     discovery.

21                  Then we have Declarant Joseph Carver, who lost his

22     benefits -- well, was supposed to have lost his benefits in

23     December.    He got his benefits for December but then was

24     terminated in January, and at that point we had an admission

25     by a customer service representative that a lot of people
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 43 of 78      43


 1     didn't get their notices that month, and at ECF 45-24, Page

 2     5, the report to FNS, the District says, "We had a large

 3     notice failure affecting benefit delivery for December 1st."

 4                 And then finally, Declarant Diamond Moore, a

 5     single mother with five children, one of whom is a baby,

 6     lost her benefits in January and at ECF 45-24, Page 5, there

 7     was a notice -- there was a note of issues that had been

 8     raised with October notices SNAP batches, and at 45-22-33

 9     there was an October 31st failure of critical batch jobs

10     affecting notices.

11                 So now that I've gone through all that, let me

12     back up a minute and tell you why we think that this is

13     all -- that this is all significant and to go back to your

14     question why the backlog is only a small piece of this.

15                 What we discovered through the experiences of our

16     individual plaintiffs and declarants and the admissions and

17     other evidence of systemic error is that, first of all, the

18     District has a systemic problem with sending out notices.

19     Whether it's due to some error that the vendor committed,

20     whether it's due to some problem with DCAS, we don't know

21     because the agency is so untransparent.         But we know that

22     there is a problem, and it doesn't just affect our

23     individual people because we wouldn't have those admissions

24     and evidence of widespread notice failures.

25                 The second thing which we learned in the
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 44 of 78      44


 1     deposition from Director Zeilinger is that the DCAS system

 2     only shows the date that a notice was sent to the vendor.

 3                 THE COURT:    And just let me stop you.

 4                 MS. MEZEY:    Sure.

 5                 THE COURT:    So you would agree, then, that the

 6     standard I'm to apply is whether you have shown the

 7     likelihood of success of proving that those recertification

 8     notice issues are due to some systemic pervasive issue as

 9     opposed to one or two isolated areas that are not likely to

10     recur?

11                 MS. MEZEY:    Correct.    In my practice, we see

12     people all the time who have moved and they've either not

13     reported it to the agency or they've reported it and the

14     agency hasn't updated their address, all sorts -- or

15     problems with the mail, all sorts of problems like that.

16                 THE COURT:    The District has responded to several

17     of the narratives that you've placed in the record with

18     reasons why particular individuals were not --

19                 MS. MEZEY:    Correct, but one interesting thing,

20     which relates to what I had said before, is that in almost

21     all of these situations of the declarants and plaintiffs

22     we've read we have mentioned the District's response is that

23     they were sent a notice.

24                 So Ms. Moore was sent a notice.       Mr. Carver was

25     sent a notice.     Ms. Yancey was sent a notice despite this
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 45 of 78            45


 1     evidence of widespread failure.        And the reason for that, we

 2     believe, is that their system does not show when the notice

 3     actually gets mailed to the person.        It just shows that it

 4     went to the vendor or that a notice was scanned into the

 5     system.

 6                  But there's no evidence that the District has put

 7     forward that that notice actually goes to the individual;

 8     therefore, the District has no way of rebutting our evidence

 9     that there were these widespread failures to send notices.

10                  THE COURT:   Okay.

11                  MS. MEZEY:   So in relation to -- so for Claim 2,

12     following on Mr. Cohan's presentation, we would similarly

13     say that Claim 2 would lend itself to this type of absolute

14     compliance that would be part of the PI motion -- excuse me,

15     the preliminary injunction order.

16                  And one last thing that I just wanted to point out

17     to Your Honor, you mentioned that the District is improving

18     and that the notice backlog is being -- is reduced.             If you

19     look at --

20                  THE COURT:   I suggested that that's what the

21     biweekly reports indicate.

22                  MS. MEZEY:   Correct.    That was not your

23     assessment.

24                  If you look at the District's opposition to the

25     preliminary injunction motion at ECF 31, Page 21, the
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 46 of 78            46


 1     District states, "Fewer notices are failing each week.            As

 2     reported to FNS, the system notice failure was approximately

 3     10 to 13 percent on a weekly basis during June and July

 4     2017, the rate dropped to 6 to 10 percent as of August 2017,

 5     and it averaged 5 percent in the most recent report to FNS,"

 6     which seems to be a good trajectory.        However, in December,

 7     in one of its December reports to FNS, they reported a

 8     higher-than-14-percent error rate in December with over

 9     2,000 notices failing in one day alone, December 6th.

10                 THE COURT:    Where is that in the record?

11                 MS. MEZEY:    That's at ECF 45-25, Page 25.

12                 So clearly, even if the District has made progress

13     with the backlog, there obviously are still systemic

14     problems that are affecting the delivery of notice.             And in

15     this case, the delivery of notice is essential because

16     otherwise people don't know when to recertify, and so people

17     who are -- as Ms. Moore said to me, "If I had gotten the

18     notice telling me to recertify, I would have gone in to

19     recertify."

20                 It's not just an -- it's not just an academic

21     issue.    It's a direct relation to whether or not people get

22     food.

23                 THE COURT:    And are those all recert notices or --

24                 MS. MEZEY:    Yes, these are --

25                 THE COURT:    -- are some -- I mean, DHS sends out
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 47 of 78    47


 1     lots of notices.

 2                 MS. MEZEY:    Correct, Your Honor.     And in the

 3     reports to FNS, sometimes recert notices are distinguished,

 4     and sometimes they're not.        The notices that we're referring

 5     to in Claim 2 are notices of expiration, which are detailed

 6     in the implementing regulation of 7 CFR 273.14(b)(1).

 7                 It's really part -- the thing that starts the

 8     recertification process.       You notify the person that it's

 9     time to recertify --

10                 THE COURT:    The NOEs.

11                 MS. MEZEY:    Exactly.

12                 -- you set an appointment for them, and that's

13     what gets the process started.

14                 THE COURT:    Okay.

15                 MS. MEZEY:    Thank you, Your Honor.

16                 THE COURT:    Thank you very much.

17                 MR. COHAN:    Your Honor, may I just supplement very

18     quickly on one point?

19                 THE COURT:    Sure.

20                 MR. COHAN:    Your Honor had asked during my

21     argument where the Court might be able to find discussion as

22     to how the ATP rate is calculated, and that's in the record,

23     Your Honor, at Docket No. 45-30, which is a memorandum from

24     FNS to the local districts, the states and the districts,

25     explaining --
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 1                 THE COURT:    January 11, 2017?

 2                 MR. COHAN:    There is that memo, yes, Your Honor.

 3                 THE COURT:    Okay.

 4                 All right.    Ms. Yong.

 5                 (To the gallery) Folks, feel free to take a

 6     stretch, if you'd like.      I know it's a little technical.

 7                 MS. YONG McGRAW:      Good morning, Your Honor.

 8                 THE COURT:    Good morning.    How are you?

 9                 MS. YONG McGRAW:      Good.

10                 So a few points I want to -- I hope I don't jump

11     around too much.

12                 THE COURT:    Okay.   I want you to focus at some

13     point on the plaintiffs' arguments that the most recent

14     quarterly report figures, that I shouldn't rely on them for

15     the reasons that they've said.

16                 MS. YONG McGRAW:      All right.   So I want to take a

17     step back and talk about -- provide the Court some

18     background on the 366Bs and how FNS oversight works.            So one

19     of the things that FNS does is there's actually a memo which

20     is cited in the District's opposition to motion for

21     preliminary injunction at -- I forget; I'll find the cite in

22     a bit -- that talks about how the -- how FNS uses --

23     calculates timeliness in three different ways.          So one of

24     those ways is using the 366B, and the District acknowledges

25     that that's not the only method that FNS uses to conduct
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 49 of 78             49


 1     oversight of the states.

 2                 So the 366B is one method, and that covers all of

 3     the applications and recerts for a particular quarter, but

 4     there's also, as Your Honor mentioned, in the -- the 88.45

 5     percent is based on a sampling method, which is another

 6     method that FNS uses, and FNS in that case goes in and pulls

 7     its own sample.     And so there's very little information that

 8     the District can have in terms of, like, what FNS is doing

 9     to come up with that number.

10                 THE COURT:    So you do not agree with the

11     plaintiffs that those samples only reflect initial

12     applications and not recertification applications?

13                 MS. YONG McGRAW:      No, we agree that they only

14     include initial applications --

15                 THE COURT:    Okay.

16                 MS. YONG McGRAW:      -- but it includes initial

17     applications and -- which is defined to include both the

18     regular 30-day as well as the expedited seven-day.              So they

19     include both of that.

20                 So there's kind of two parallel things that we're

21     talking about.     One is applications, and one is

22     recertifications.

23                 So for applications, there's regular applications,

24     which is the District has 30 days to approve process.

25                 THE COURT:    I understand.    So let's just stop
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 50 of 78   50


 1     there.    If you agree that the audit is -- we're comparing

 2     apples to apples --

 3                 MS. YONG McGRAW:     Correct.

 4                 THE COURT:    -- with the 366Bs.

 5                 MS. YONG McGRAW:     Correct.

 6                 THE COURT:    At least for the initial applications.

 7                 MS. YONG McGRAW:     Correct.

 8                 THE COURT:    And so respond to the question that if

 9     your compliance rate in that FNS audit is only 88 percent,

10     and that's giving you the benefit of the upper bounds of the

11     confidence interval, whereas your revised 366 reports are

12     showing a higher compliance rate than that, why should we

13     trust the 366 reports?

14                 MS. YONG McGRAW:     Well, the reason why the

15     District used the 366 calculation number is because we're

16     responding to the calculation methods that were in the

17     plaintiffs' motion for preliminary injunction.

18                 The plaintiffs' motion set forth this calculation

19     by using the 366Bs, so in the District's response it

20     responded by looking at -- using that exact same

21     calculation method from plaintiffs' motion for preliminary

22     injunction and using the revised 366Bs and the most recent

23     2018 Quarter 1 366B.

24                 THE COURT:    And so that must be a different method

25     than what FNS uses.
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 1                 MS. YONG McGRAW:      Well, FNS actually uses three

 2     methods, and it's actually in the opposition to preliminary

 3     injunction -- oh, sorry, it's in Director Zeilinger's

 4     declaration at ECF 32-1, Page 14, Paragraph 51.          And there's

 5     a cite that says in the middle of that paragraph, "FNS" --

 6                 THE COURT:    I'm sorry, one more time.

 7                 MS. YONG McGRAW:      "Clarification on the Three Ways

 8     Initial SNAP Application Processing Timeliness is Measured."

 9     It's an FNS guidance dated June 2, 2017.

10                 THE COURT:    Okay.

11                 MS. YONG McGRAW:      And the -- I apologize.       The

12     hyperlink for that particular June 2, 2017, is at Paragraph

13     47 of the same declaration, Page 12.

14                 So but one thing that I wanted to point the

15     Court's attention to is that the 88.45 percent is based on

16     the numbers from March 2017, and Your Honor asked when the

17     most -- when the next --

18                 THE COURT:    For a six-month period.

19                 MS. YONG McGRAW:      Right, from October 2016, which

20     is the first time when DCAS was implemented, to March 2017.

21     And we know from the 366Bs that Quarter 1 and Quarter 2 of

22     2017 cover that same time period, and we know that on the

23     366Bs the District's numbers from Q1/Q2 have improved since

24     then, so Q3/Q4 and finally in 2018 Q1 have improved since

25     the Quarter 1 and Quarter 2 from 2017.
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 1                 I think that, you know, as Your Honor noted and is

 2     noted throughout the record, FNS is in very frequent contact

 3     with DHS.    They have biweekly -- every two weeks they meet

 4     with them extensively, and there are these slide decks that

 5     are created, and so FNS is monitoring it.         I don't know when

 6     the next audit is either, but I assume that the trajectory

 7     of the 366Bs is going to be similar to the trajectory that

 8     would be shown by the sampling method used by -- or whatever

 9     other compilation method used by FNS to come up with this

10     88.45 percent.

11                 And I would note that -- and Your Honor's

12     questions --

13                 THE COURT:    So then, I mean, I understand that

14     your position is that there is improvement.

15                 MS. YONG McGRAW:      Yes.

16                 THE COURT:    But are you conceding that you're not

17     really at 95 percent as measured by FNS even though you're

18     getting there?

19                 MS. YONG McGRAW:      Yes.   We admit that we're not at

20     95 percent, which is why the District -- DHS recently

21     submitted a CAP.

22                 THE COURT:    Okay.

23                 MS. YONG McGRAW:      So -- and I think one thing, to

24     respond to the Court's questions about what percentage

25     is -- a preliminary injunction should be issued, you know,
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 53 of 78    53


 1     the plaintiffs cited to Withrow v. Concannon.          There's

 2     another case, Shands vs. Tull, and it's from the Third

 3     Circuit.    It's 602 F. 2d 1156.     And in that case, it also --

 4     both Shands and Withrow, first of all, dealt with should it

 5     be substantial compliance or full compliance that the agency

 6     be held to.

 7                  But one thing to note is that the factual pattern

 8     in both of those cases dealt with whether the agency was

 9     complying with the 90-day or 60-day deadline to hold a fair

10     hearing.    So -- which is very different because the number

11     of fair hearings that DHS handles per quarter is

12     approximately -- I think on the last 366B report it's a

13     handful -- a couple of hundred, whereas, by contrast, the

14     number of applications and either initial -- regular initial

15     applications, expedited or recertifications, is on the order

16     of 8,000 to 9,000 per month, which is 24,000 to 27,000 per

17     quarter.

18                  So the numbers that we're talking about are very

19     different.    And so in both Withrow and Shands, those cases

20     are when the agency has failed to comply with the deadline

21     of providing a hearing and a decision within 60 days from

22     when a fair hearing request was filed.

23                  But to the -- more specifically, in Shands vs.

24     Tull, the Court -- the Third Circuit actually talked --

25                  THE COURT:   Well, the large number point can cut
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 54 of 78     54


 1     in both directions, right?

 2                 MS. YONG McGRAW:     True.

 3                 THE COURT:    If you're talking about 20,000

 4     applications, 1 percent is 200 people without food stamps.

 5                 MS. YONG McGRAW:     It's 200 people that may not

 6     have been -- that may not have had their application done

 7     timely.

 8                 THE COURT:    Exactly.

 9                 MS. YONG McGRAW:     But, again -- and I'll get to

10     this later -- the FNS clarification on how to -- there's an

11     FNS guidance, which I believe plaintiffs' counsel cited to,

12     talking about how to fill out this new 366B form, and in

13     that Q-and-Answer section of the guidance it specifically

14     says that what's counted as overdue -- you have to count it

15     as overdue, even if it's related to the client's error --

16                 THE COURT:    I understand.

17                 MS. YONG McGRAW:     -- or agency error.

18                 So contrary to what plaintiffs' counsel

19     represented, it's not that we don't know.         It's that FNS

20     actually dictates that we have to include it as overdue.

21                 THE COURT:    And FNS builds that into its 90 and 95

22     percent threshold.

23                 MS. YONG McGRAW:     Correct, correct.

24                 Now, one thing about Shands vs. Tull is it

25     actually looked at -- it looked at the language in the
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 55 of 78    55


 1     statute, so Congress's language as well as the agency's

 2     language in the regulations, and it says -- it states that,

 3     "Both provisions show that" -- "show an implied intent to

 4     hold the states to a standard of substantial compliance, and

 5     thus to make some allowance for the difficulties of

 6     administering an extensive bureaucracy."

 7                 Now, in -- one of the -- in the -- so we talked

 8     about -- and in the Court it also says, "We believe the

 9     scheme reveals a congressional intent to require only

10     substantial compliance from the states."

11                 So I think there is case law to both sides, and I

12     think that, you know, we agree that the statute requires 100

13     percent, and we agree -- and there is evidence in the

14     record -- that FNS considers 95 percent to be acceptable,

15     but even as to 90 percent, it's only if you're below 90

16     percent that FNS requires a CAP, and there's many states

17     that are on CAPs, and the District is only 1.55 --

18                 THE COURT:    And some of those states have been

19     under injunctions as well, correct?

20                 MS. YONG McGRAW:     And the District is only 1.55

21     percent below that 95 percent, and that's based on the

22     March -- October 2016 to March 2017 date, so I think

23     that's -- and I think, in the context that a preliminary

24     injunction is an extraordinary remedy, that should be taken

25     into account.
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 56 of 78       56


 1                 On the -- there was some discussion about whether

 2     the 366B was done correctly based on some testimony from

 3     Director Zeilinger, and I will say that the District has

 4     followed the -- after having to revise the 366B reports has

 5     gone through with a fine-toothed comb the instructions and

 6     is processing the 366Bs based on the processing date, not

 7     the filing date, and that -- and Director Zeilinger misspoke

 8     at her deposition.      And we've addressed this in our sur-

 9     reply at Page -- which is ECF 48, Page 13, that there's

10     evidence in the record showing that what plaintiffs

11     speculate that the 366Bs are based on the date of filing,

12     not the date of processing, cannot be true because at the

13     bottom of Page 13 every 366B submitted in Fiscal Years 2017

14     and 2018 lists at least one application --

15                 THE COURT:    So wait.    Hold on.   So you're saying

16     that the forms were actually filled out in the way that

17     plaintiffs suggest that they should have been?

18                 MS. YONG McGRAW:      Yes.

19                 THE COURT:    And that Ms. Zeilinger misspoke in her

20     deposition when she said that they were not filled out in

21     that fashion.

22                 MS. YONG McGRAW:      Yes.

23                 THE COURT:    Okay.   And do we have a supplemental

24     declaration from Ms. Zeilinger, or this is just a statement

25     in your sur-reply?
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 57 of 78       57


 1                  MS. YONG McGRAW:     This is a statement in our

 2     sur-reply.

 3                  THE COURT:   Okay.

 4                  MS. YONG McGRAW:     But we certainly can supplement

 5     the record with an additional declaration.

 6                  THE COURT:   I think I'd like that.

 7                  MS. YONG McGRAW:     Very well.

 8                  THE COURT:   Within seven days, okay?

 9                  MS. YONG McGRAW:     Yes.

10                  THE COURT:   Actually --

11                  MS. YONG McGRAW:     We can provide it to the Court

12     by the end of the week.

13                  THE COURT:   By close of business Thursday, okay?

14                  MS. YONG McGRAW:     Sounds good.

15                  THE COURT:   And we'll give the plaintiffs an

16     opportunity to respond within two business days.

17                  MS. YONG McGRAW:     Now, Your Honor's questions

18     on --

19                  THE COURT:   What about this backlog issue, and

20     what is the backlog, what's the backlog trend, and how is

21     it relevant to the plaintiffs' claims that the District is

22     not -- has failed to send notice in a systemic way?

23                  MS. YONG McGRAW:     Well, so first of all, the

24     backload -- the backlog, rather, is trending in the same

25     direction.    It's trending downward, as we reported in our
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 58 of 78      58


 1     sur-reply and in the declaration, and we're continuously

 2     working on it.     And, you know, I would note that when we're

 3     talking about notices, there's many types of notices that

 4     are issued by DCAS because DCAS handles Medicaid

 5     applications, TANF, which is cash assistance, as well as

 6     SNAP; and even within SNAP there are multiple types of

 7     notices.

 8                 And in specific, Ms. Mezey cited to ECF 45-25 at

 9     Page 25 as citing to one of the slide -- biweekly slide

10     decks and stated that it showed a SNAP recert notice, and

11     that's not correct.      I just took a look at it, and it was

12     for a benefit change notice.

13                 THE COURT:    Right.

14                 So that was the source of a question that I had.

15     So in several of these slide decks there's a slide entitled

16     "Food Notices Backlog Status."       And the one I have in front

17     of me is October 4th, FNS FOIA Bates No. 001442, but there

18     are several like it.      It says the total backlog is 90, but

19     all of them have to do with change in benefits.

20                 MS. YONG McGRAW:     Right.

21                 THE COURT:    So the question is, what is a change

22     in benefits notice, and is that the same thing as a

23     recertification notice?

24                 MS. YONG McGRAW:     It's not the same thing as a

25     recertification notice.
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 1                 So the recertification notice is formally called a

 2     "Notice of Expiration."

 3                 THE COURT:    Okay.

 4                 MS. YONG McGRAW:      And it is required to be sent 60

 5     days before a beneficiary's certification period ends, and

 6     it tells them your certification period is going to end two

 7     months from now, you need to come in and recertify, and

 8     there's an interview date for them to come in.

 9                 The other types of --

10                 THE COURT:    Now, this chart does not have an entry

11     for an NOE.     It has an entry for SNAP recert approvals.      Is

12     that the -- is that what that is designed --

13                 MS. YONG McGRAW:      So that is notice saying that

14     you've successfully recertified, and here's your new -- the

15     new end of your certification period.

16                 THE COURT:    Okay.   So this chart does not cover a

17     backlog in the NOEs.

18                 MS. YONG McGRAW:      No.   I don't believe it does,

19     but I -- which ECF number is that?

20                 THE COURT:    I'm not sure I have an --

21                 MS. YONG McGRAW:      Or which exhibit number?

22                 THE COURT:    FNS FOIA 001442, Page 34 from the

23     October 4th -- or the biweekly report that covers October

24     4th, and there are several charts like that.

25                 MS. YONG McGRAW:      Do you have the exhibit letter?
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 60 of 78      60


 1     I don't believe any of these reflect the notice of

 2     expiration, looking at the -- looking at the --

 3                 THE COURT:    Okay.

 4                 MS. YONG McGRAW:      -- the categories, but one

 5     thing --

 6                 THE COURT:    Okay.   Where in the record or

 7     generally what types of documents in the record contain the

 8     status of the NOE backlog?

 9                 MS. YONG McGRAW:      So let me -- I believe that we

10     cited to it in -- when we cited the downward trend --

11                 THE COURT:    Okay.

12                 MS. YONG McGRAW:      -- in the recerts.

13                 If I can come back to that, Your Honor, and we'll

14     have an opportunity to --

15                 THE COURT:    Okay.   All right.    Anything else on

16     the recerts?

17                 MS. YONG McGRAW:      Yes.

18                 THE COURT:    Your own numbers show that over the

19     last five reporting quarters the rate has ranged from 75.4

20     percent timely down to 41 percent timely, and the most

21     recent one is 59.2 percent timely.        Isn't that substantially

22     under what not only the law but FNS requires?

23                 MS. YONG McGRAW:      Well, so FNS -- the 95 percent

24     only applies to applications, not recertifications.

25                 THE COURT:    Okay.   Is there a standard for
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 1     recerts?

 2                 MS. YONG McGRAW:     As far as I know, I don't know

 3     of one.    I don't know that there's one in the record.         I

 4     don't know what percentage FNS requires, but what I will say

 5     is that on Page 16 of our sur-reply, which is ECF 31, we

 6     address that -- sorry, of our sur-reply, which is ECF 48,

 7     ECF 48 at the bottom of Page 15 to the top of Page 16, that

 8     first of all, there's two pieces of evidence in the record.

 9     One is the testimony of Dr. -- of Director Zeilinger saying

10     that, you know, with respect to the vendor error, 63 percent

11     of the people that we contacted via robocalls or subsequent

12     notices completed their recertification during the grace

13     period, and then a total of 72 percent actually recertified,

14     and that's higher than in normal months, at the top of Page

15     16.

16                 And then there's a citation to a study by the

17     Urban Institute showing that they wanted to understand the

18     rates, causes, and costs of churning, of the turnover, in

19     the SNAP population, and in their report in Fiscal Year 2011

20     only 32 to 41 percent of SNAP recipients in certain states

21     received SNAP benefits for the full year by recertifying

22     when required.

23                 So this is something that the District has -- you

24     know, the recertification rate is always lower than the

25     application rate for a variety of reasons.         It could be that
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 1     people miss the grace period deadline even after they've

 2     received notice, as evidenced by some of the named

 3     plaintiffs in the record, or they have -- as one of the

 4     declarants of the benefit, they become over income.

 5                 THE COURT:    I'm sorry, isn't the deadline

 6     triggered -- there's a notice deadline.         Let's put that

 7     aside.

 8                 Once notice is sent out, the recipient applies for

 9     recertification, and the District has 30 days to act on that

10     application.

11                 MS. YONG McGRAW:     Yes.

12                 THE COURT:    Correct?

13                 MS. YONG McGRAW:     For the most part.     It depends

14     on when it comes in, if it's before the 15th or after the

15     15th of the month.

16                 THE COURT:    But what does that -- what does

17     meeting that deadline have to do with how many people churn

18     out of the system and decide not to submit an application or

19     don't submit an application within the grace period?

20                 These numbers are based on applications that are

21     sitting there, and you have a certain number of days to

22     process them, right?

23                 MS. YONG McGRAW:     Correct, but the way that the

24     366Bs, remember, are -- the instructions say that it's

25     overdue even if it's due to the client error, so in this --
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 1     so one of the things for recertifications is they get the

 2     notice 60 days before their deadline.         They can recertify

 3     any time in those 60 days, and then to not -- to continue

 4     getting SNAP benefits after their cert period ends.

 5                 But if they come in the 30-day period after that

 6     60 days, so they've already -- their SNAP benefits have

 7     already expired, they still get a 30-day grace period to

 8     come in and recertify, and so long as they do that, they get

 9     the prorated for that month and they get the new

10     certification period.

11                 So anybody that comes in in that 30 days is

12     considered overdue, whether it's their fault or the agency's

13     fault.    So both of them are included in the 366Bs as overdue

14     recertifications.

15                 THE COURT:    Okay.

16                 MS. YONG McGRAW:      Just a couple of things I

17     wanted to correct on what plaintiffs' counsel said is that

18     I'm not -- the first I've heard of D.C. is the only state

19     without monthly reports in citation to CFR 272-15, we have

20     not looked at that.      It is not part of the case.      It's not

21     been briefed, and the District is not prepared at this time

22     to address any claims from plaintiffs.

23                 The second is that plaintiffs essentially want to

24     replace FNS's role as oversight, which is due -- and FNS is

25     aggressively and consistently conducting oversight of the
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 64 of 78       64


 1     District, as evidenced by the multiple biweekly reports in

 2     the record.     And plaintiffs say that they want a CAP to

 3     address expedited SNAP applications as well because FNS

 4     doesn't oversee that part.       The District would object to

 5     that and correct the record to say that initial

 6     applications, which is Row 3 of the 366B report, is defined

 7     in the FNS instructions for how to fill out the 366B report

 8     as including both regular 30-day applications as well as

 9     expedited applications, and that the APT rate includes both

10     as well.

11                 Now, and then plaintiffs also --

12                 THE COURT:    Respond to the argument that there

13     would be little harm from the entry of an injunction since

14     you all are already, you know, complying and are under a

15     CAP, but that the added incentive of a federal court

16     injunction is necessary to draw the attention to the

17     seriousness of the matter?       That's basically the plaintiffs'

18     equity argument for why an injunction ought to issue here.

19                 MS. YONG McGRAW:     Right.   I don't think that

20     there's any evidence in the record showing that DHS is not

21     taking the issue seriously.       In fact, it has evidence of the

22     complete opposite, which is the District is working very

23     hard and working hand in hand with FNS ever since the DCAS

24     implementation, which was monitored and approved, got

25     concurrence from FNS to proceed with the go-live.          And so
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 1     FNS has been a partner the entire time, and so additional

 2     court oversight, which is through a preliminary injunction,

 3     is an extraordinary remedy, and the plaintiffs -- the

 4     evidence that the plaintiffs submit is simply not enough.

 5                 THE COURT:    In this context it strikes me as not

 6     terribly extraordinary.      It seems to have happened quite a

 7     bit.

 8                 MS. YONG McGRAW:     I don't think that having --

 9                 THE COURT:    I mean, we've cited, you know, at

10     least ten cases here today where courts have imposed

11     injunctions on states to meet whatever level of compliance

12     they deem is necessary.

13                 MS. YONG McGRAW:     It's -- I think the evidence

14     doesn't show that the same -- the evidence in this record is

15     not the evidence of those records, and as we've seen, based

16     on the plaintiffs' own calculation that they proffered in

17     their motion for preliminary injunction, the District's

18     initial and expedited application processing rates are at 95

19     percent.

20                 And, yes, that may not be -- that may be only one

21     of the measures by which FNS conducts compliance over the --

22     monitors compliance of the District, but it's -- even the

23     old stale data from March 2017 is 88.45 percent.          And, as

24     Your Honor noted, in many of those cases cited by the

25     plaintiffs the state agency was very far out from
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 1     substantial compliance, and here the District is very close

 2     to -- at least based on the March 2017, very close to 90

 3     percent, which is the threshold for even doing a CAP.

 4                  THE COURT:   Okay.

 5                  MS. YONG McGRAW:     And on the recertifications,

 6     there's nothing in the record stating what the level of

 7     oversight is, but I will note to Pages 15 and 16 of the

 8     District's sur-reply and the evidence in the record that the

 9     rate of certification -- recertification is lower not only

10     because of various causes but also the 366Bs include overdue

11     as of -- due to client error as well as agency error.

12                  THE COURT:   Just on class cert briefly, I read the

13     DL case, and this case --

14                  MS. YONG McGRAW:     I'm sorry, which case?

15                  THE COURT:   The DL case, the D.C. Circuit case

16     regarding enrollment of students, disabled students under

17     the IDEA, and this case seems to be quite similar.

18                  You all challenge the commonality and typicality

19     requirements on the grounds that there might be different --

20     there probably are different reasons why the deadlines

21     aren't being met for particular clients, but the question

22     is, under the reasoning of the DL case, why does that

23     matter?    The statutory violation here is missing the

24     deadlines.    The statute doesn't speak of why the deadlines

25     are missed.
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 1                 So why can't that claim be -- why isn't that claim

 2     amenable to class-wide resolution?

 3                 MS. YONG McGRAW:     Well, because I think the way

 4     that plaintiffs have defined their definitions is just is

 5     there a violation of the SNAP act of this provision, and

 6     that's simply too broad.

 7                 You know, the District cited in its briefs many

 8     cases from the D.C. Circuit saying that at some level of

 9     abstraction there's always going to be commonality.             And

10     here, if we look back at the line of cases from Wal-Mart vs.

11     Dukes, you know, there they're alleging there's a violation,

12     there's gender discrimination --

13                 THE COURT:    But there are lots of different

14     reasons why there can be gender discrimination under Title

15     VII.   Just one theory as to why the District has violated

16     SNAP in this case is that they've either missed the initial

17     deadline or the recertification deadline.

18                 MS. YONG McGRAW:     But the reasons for why they

19     missed that -- for example, you know, we look at Stanley and

20     Gaines.    They were -- they claim that they did not get the

21     notice of expiration for the recertification, and that was

22     due to the vendor error that was an isolated error, and

23     these are the only two named representatives for that class

24     that's being defined.

25                 And so, you know, what is the common error or
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 1     misconduct or defendant's conduct that led to the violation?

 2     I think that's where we don't have commonality among the

 3     class members and among the named plaintiffs.

 4                 THE COURT:    Okay.   Thank you.

 5                 Mr. Cohan, the last bite of the apple.

 6                 MR. COHAN:    Thank you very much, Your Honor.

 7                 THE COURT:    Briefly.

 8                 Okay.   So if I credit this anticipated declaration

 9     from Ms. Zeilinger that the numbers were calculated

10     correctly based on processing and not just filings, do you

11     still -- are you still entitled to an injunction?

12                 MR. COHAN:    Absolutely, Your Honor, for two

13     reasons.    First off, we would actually ask this Court to not

14     permit a supplemental declaration to be submitted.

15     Defendant -- this is the first time defendant raised a

16     concern about hearing something for the first time.             This is

17     the first time we're hearing about something.          Defendant

18     submitted a sur-reply, had already received our argument

19     concerning the filing date, and does not mention the

20     commissioner -- the director misspoke once in the sur-reply

21     that was submitted.

22                 The only evidence they submit or the only point

23     they make is that somehow there's an application that was

24     delayed more than 91 days as the sole indication that that

25     means that they had to have filled it out correctly.            But
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 1     it's quite easy an application could have been late by more

 2     than 91 days if the application was filed at the beginning

 3     of the reporting period and they didn't process it within

 4     the four months that they basically had because from October

 5     1st to January 31st, that's not 90 days.         That's actually

 6     120 days.    So they would pick up a late 91-plus day

 7     application if it was filed in the beginning of the quarter.

 8                 So the sole thing that they're pinning somehow the

 9     director misspoke but --

10                 THE COURT:    I don't want to argue this now.       I'm

11     going to allow the supplemental declaration to be filed,

12     and I'm going to give you an opportunity to respond to it.

13     This is obviously technical stuff.        Let's try to get to the

14     right --

15                 MR. COHAN:    I will turn to the other point I

16     wanted to make regarding that, Your Honor, is that

17     defendant's counsel stood up before you and answered what

18     was the most critical question as to initial applications,

19     30- and seven-day applications.        You asked directly are they

20     at 95 percent.     She said no.    So whatever the director

21     submits in terms of how the 366B may or may not have been

22     filled out, they're telling you that the statement they made

23     to FNS is, in fact, a correct one, that they are not there.

24                 And equally critically, they make the point that

25     they have been doing everything necessary to bring
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 1     themselves into compliance with federal statute.          They don't

 2     say that they have brought themselves into compliance with

 3     federal statute, which is a very interesting distinction,

 4     but they haven't.     The reason we know they haven't is they

 5     submitted a faulty corrective action plan.         FNS comes back

 6     and says, "Your corrective action plan is deficient in five

 7     ways."    This is on December 14, 2017.       They submit their

 8     faulty corrective action plan January of 2018, FNS comes

 9     back, they say to FNS not that "We're doing everything

10     possible because we recognize the critical interest at

11     stake, and we're going to get food stamps to people timely

12     within 30 days, 60 days, 90 days."        They say, "We need 12

13     months from the date that FNS approves the CAP to even get

14     to 95 percent."

15                 So this is not an agency that has its hair on

16     fire, that is acting with all deliberate speed, so to speak.

17     This is an agency that is in a deliberate slow, careful

18     negotiation with the federal oversight agency.          Their own

19     statements to FNS highlight the importance of the issuance

20     of the preliminary injunction in this context to basically

21     speed them up, to give them a sense of the urgency that they

22     need to treat this with because they've acknowledged they're

23     not at 95 percent, and they -- they also conflated something

24     I want to also correct.

25                 Client error is not built into the 90 percent for
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 1     initial applications, 30- and seven-day.         Client error may

 2     be built into recertifications, but not as to initial

 3     applications as FNS counts that.

 4                 THE COURT:    Is there an FNS-acceptable standard

 5     for recertification?

 6                 MR. COHAN:    There is not, Your Honor.      FNS --

 7                 THE COURT:    There is not.

 8                 MR. COHAN:    There is, and there is not.      There is

 9     not an FNS sampling standard because FNS does not sample

10     recerts.    What FNS has said to the districts is that for

11     purpose of complying with the federal statute it expects

12     full compliance, and, of course, unless it's acting ultra

13     vires the authority of the Congress it has to do that, but

14     it has not --

15                 THE COURT:    Right.   That's a different question.

16                 MR. COHAN:    But it has not set forth a sampling

17     consistent because it doesn't sample recerts.          It has not

18     had the capacity to do so, which is why it --

19                 THE COURT:    So it doesn't place districts under

20     CAPs for deficiencies in recert applications?

21                 MR. COHAN:    It will if it finds those deficiencies

22     as part of its review, but it doesn't do it in a numerically

23     tracked way.

24                 Part of what FNS does is they go in and they do

25     what are known as program access reviews, and they will pull
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 72 of 78             72


 1     a certain number of cases, they will review those cases,

 2     they will seek to identify deficiencies, and they will

 3     instruct the districts or the states to do better.              They do

 4     that as to notices.      They do that as to overpayments,

 5     underpayments, but there are not, as there is with timely

 6     processing, set performance standards.

 7                 THE COURT:    So it may be that 65/70 percent would

 8     be acceptable --

 9                 MR. COHAN:    It would be possibly acceptable to

10     FNS, but it should not be acceptable to this Court because,

11     as a practical matter, again, households that are not able

12     to eat, the standard we would argue under the case law would

13     be one of absolute compliance.       And other jurisdictions that

14     have addressed failures to timely comply with

15     recertification requirements have not hesitated to impose

16     that kind of standard.

17                 THE COURT:    Well, I assume that FNS has those same

18     goals in mind.

19                 MR. COHAN:    I would assume they do as well, Your

20     Honor.    But what they do in terms of their percentages, we

21     just -- they just haven't done it yet because they don't

22     have the technology yet in place.

23                 But it does not include -- interestingly enough,

24     Counsel raised the Shands v. Tull decision, which is a case

25     out of the Third Circuit, correctly dealing with -- she's
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 1     correct; it deals with fair hearing decisions.          As the Court

 2     points out, fair hearing decisions are, of course, a much

 3     smaller scale of operation, but the District would devote

 4     less resources to it than it would to applications, both

 5     initial and recerts.

 6                 What defendant does not make as part of her

 7     argument is that the Court in Shands v. Tull found that

 8     there was substantial compliance because the district was at

 9     96 percent, and that's -- if the District were at 96 percent

10     here today, Your Honor would be presumably hearing a

11     different case than the one that it's presently hearing.           So

12     I do think that that's an important distinction that gets

13     left out here.

14                 The other thing -- and there is ample evidence

15     that we have submitted in the record in terms of defendant's

16     own acknowledgements, that sometimes part of the problem

17     also is that not all the applications that get submitted are

18     necessarily known to the defendant.        They might be --

19     defendant has admitted it's had issues with applications

20     being made known to the system.        If they're not made known

21     to the system within five days, they're not timely recorded.

22                 So defendant's own ability to keep track of its

23     data is extraordinarily suspect, so what should we look to

24     in terms of taking defendant at its word?         And that's its

25     admission that it's not at 95 percent.         It's an admission
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 1     now that's been made in two fora.        It's been made to FNS.

 2     It's been made to the Court.       And so we would submit, Your

 3     Honor, that it doesn't take its obligation with enough

 4     seriousness to evade the imposition of a preliminary

 5     injunction, and that a preliminary injunction here would

 6     serve a very vital purpose of ensuring that needy people

 7     are, in fact, having their food stamps processed as required

 8     by law.

 9                 THE COURT:    Okay.   Thank you very much.

10                 MR. COHAN:    Thank you, Your Honor.

11                 THE COURT:    Ms. Yong, just one more question, and

12     I'm not sure it's determinative of anything, but why are the

13     lines so long?

14                 MS. YONG McGRAW:      Why the what?

15                 THE COURT:    Why do people have to show up at 3:30

16     in the morning at one of these service centers to get in

17     line and wait until 5:00 to submit their applications or

18     have their questions answered?       That struck me as being very

19     disturbing.

20                 MS. YONG McGRAW:      From what I understand is that

21     that has been a long-time practice in the District, and that

22     part of the goals of installing the business process re-

23     engineering and the one-and-done and the reducing handoffs

24     and going to electronic scanning of paperwork that comes in

25     so you can give it directly back to people is to streamline
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 1     it so that people don't have to wait in line for as long.

 2     But I think that there's --

 3                  THE COURT:   And, I mean, I'm not holding you

 4     responsible for this obviously --

 5                  MS. YONG McGRAW:     Yes.

 6                  THE COURT:   -- but is that something that's being

 7     monitored?    Are there -- I didn't see anything in the

 8     biweekly reports about, you know, wait time in line, which

 9     seems to be pretty critical.

10                  MS. YONG McGRAW:     Yes, and so that I think in the

11     first Zeilinger declaration perhaps there's a paragraph that

12     talks about the -- we do monitor the wait times --

13                  THE COURT:   Okay.

14                  MS. YONG McGRAW:     -- and, you know, kind of the

15     average wait times at each service center and how that

16     changes over the weeks, over the months.         And we are

17     monitoring.

18                  (To Mr. Amarillas) Thank you.

19                  It's ECF 31, Page 32.       And this is based on

20     Director Zeilinger's declaration, Paragraph 78, that most

21     service centers reach full customer processing capacity

22     anywhere between 11:00 a.m. and 4:00 p.m., although busy

23     times will vary depending on customer needs.

24                  But part of the reason of doing the business

25     process re-engineering is so that people can come in.           We
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 1     now have scanners at every station so that we can get

 2     documents in.     We can -- and we try to do a one-and-done,

 3     and we're at -- I believe our last percentage that we

 4     reported in the court filings is 83 percent one-and-done,

 5     which means that somebody comes in, and let's say they want

 6     to apply for SNAP.      They can apply -- 83 percent of the time

 7     somebody coming in is one-and-done in that one visit so that

 8     we don't have to have them come back again.

 9                 One thing to recognize about SNAP is that they do

10     have to recertify.      You do have to come in for an interview,

11     although the department has alternative pathways to do a

12     telephone interview if people are elderly or disabled and

13     can't come in to complete an interview.

14                 I just want to correct the record on one thing

15     that plaintiffs' counsel just said about -- he cited the

16     District's CAP as saying that the District says that they

17     need 12 months to get to 95 percent, implying that the

18     District is not acting with any sort of urgency, and I would

19     point to the FNS guidance dated March 18, 2016, which is --

20     I believe it's cited as one of the exhibits in plaintiffs'

21     exhibits as well as perhaps a hyperlink in the District's

22     opposition to the preliminary injunction motion.          And in

23     that it says, "States with a new timeliness problem that in

24     the CAP the milestones for achieving the 95 percent APT rate

25     one year from the date of a CAP should" -- "approval should
     Case 1:17-cv-01757-CRC Document 54 Filed 03/23/18 Page 77 of 78     77


 1     also be included in the CAP."

 2                  So the FNS guidance about timeliness and CAPs

 3     actually says that it's one year from the date of the CAP.

 4                  THE COURT:   Okay.   Very well.

 5                  I will probably get -- (To Ms. Mezey) I think...

 6                  MS. MEZEY:   Okay.

 7                  THE COURT:   As much as I like hearing from you

 8     folks.

 9                  I will probably get something out on class cert

10     sooner rather than later, and the PI issue may take a little

11     more time.    I'd like the supplemental declaration and the

12     response to iron out that issue.

13                  We've heard a lot today.     I'd like to have an

14     opportunity to digest it and go to the record and do a

15     little bit more reading.       And there's a chance that we may

16     ask for supplemental materials on some particular points so

17     be on the lookout for that.

18                  Have a good spring break in the meantime, okay?

19     Thank you very much.

20                  MR. COHAN:   Thank you very much, Your Honor.

21                  MS. YONG McGRAW:     Thank you, Your Honor.

22                      (Whereupon the hearing was

23                       concluded at 11:53 a.m.)

24

25
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 1                  CERTIFICATE OF OFFICIAL COURT REPORTER

 2

 3                      I, LISA A. MOREIRA, RDR, CRR, do hereby

 4     certify that the above and foregoing constitutes a true and

 5     accurate transcript of my stenographic notes and is a full,

 6     true and complete transcript of the proceedings to the best

 7     of my ability.

 8          Dated this 22nd day of March, 2018.

 9

10                                       /s/Lisa A. Moreira, RDR, CRR
                                         Official Court Reporter
11                                       United States Courthouse
                                         Room 6718
12                                       333 Constitution Avenue, NW
                                         Washington, DC 20001
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